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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

PATRICIA LODOVICO

v.                                         CASE NO. 3:12CV 1085 (WWE)

CUDA & ASSOCIATES, LLC

                         PLAINTIFF’S MOTION TO COMPEL

       Plaintiff moves to compel responses to interrogatories and production requests

served Nov. 1, 2012. CUDA’s responses were based on the artificial and untenable

distinction that CUDA did nothing and has no knowledge of the actions of Benjamin

Morris, CUDA’s managing member, agent, and attorney. CUDA twice represented to the

court that it had interposed “limited objections” for the purpose of obtaining extensions.

Instead, CUDA objected to 8 of the 14 interrogatories and 19 of the 23 production

requests.

       CUDA asserted boilerplate objections and refused to meet its burden to “show

why a particular discovery request is improper." Kodish v. Oakbrook Terrace Fire

Protection Dist., 235 F.R.D. 447, 449-50 (N.D. Ill. 2006). The burden is not satisfied by a

"reflexive invocation of the same baseless, often abused litany that the requested

discovery is vague, ambiguous, overly broad, unduly burdensome, or that it is neither

relevant nor reasonably calculated to lead to the discovery of admissible evidence."

Burkybile v. Mitsubishi Motors, Corp., No. 04-C-4932, 2006 WL 2325506 at *6 (N.D.

Ill. Aug. 2, 2006).

       A copy of the discovery responses at issue is appended.
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                                                                        THE PLAINTIFF

                                                                        By:__/s/ Joanne S. Faulkner_
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Certificate of Service
I hereby certify that on January 24, 2013, a copy of within was filed electronically. Notice of this filing will be sent by e-mail to
all parties by operation of the Court’s electronic filing system. Parties may access this filing through the Court’s system.


                                                   ____/s/ Joanne S. Faulkner___
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